              Case 20-33948 Document                Filed in TXSB on 07/02/21 Page 1 of 7




                             IN THE UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                            )
In re:                                                      ) Chapter 11
                                                            )
NEIMAN MARCUS GROUP LTD LLC, et al.1                        ) Case No. 20-32519 (DRJ)
                                                            )
                      Debtors.                              ) (Jointly Administered)
                                                            )

                                           REVISED MASTER SERVICE LIST

        Attached is a copy of the current Master Service List (as of July 2, 2021) filed and to be
used in accordance with the Court’s Order Granting Changer 11 Complex Case Treatment
(Docket No. 32).

Dated: July 2, 2021                                                     /s/ Victoria X. Tran
                                                                       Victoria X. Tran
                                                                       STRETTO
                                                                       8269 E. 23rd Ave, Suite 275
                                                                       Denver, CO 80238
                                                                       Telephone: 877-670-2127
                                                                       Email: NMGInquiries@stretto.com




________________________________________
1
 A complete list of each of the Debtors in these Chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at http://cases.stretto.com/NMG. The location of Debtor Neiman Marcus Group LTD LLC’s
principal place of business and the Debtors’ service address in these chapter 11 cases is One Marcus Square, 1618
Main Street, Dallas, Texas 75201.
Case 20-33948 Document   Filed in TXSB on 07/02/21 Page 2 of 7




                    Exhibit A
                                                                                                              Case 20-33948 Document                                                                Filed in TXSB on 07/02/21 Page 3 of 7
                                                                                                                                                                                               Master Service List
                                                                                                                                                                                                    As of July 2, 2021




                                     NAME                                                         ATTENTION                                                       ADDRESS 1                                                            ADDRESS 2                            CITY      STATE     ZIP         COUNTRY        TELEPHONE              FAX                         EMAIL
     210 MUNI, LLC                                                   C/O COZEN O’CONNOR                                        ATTN: BRYAN P. VEZEY                                                                 1221 MCKINNEY, SUITE 2900                         HOUSTON         TX    77010                      832-214-3900        832-214-3905   BVEZEY@COZEN.COM
     210 MUNI, LLC                                                   C/O COZEN O’CONNOR                                        ATTN: FREDERICK E. SCHMIDT, JR.                                                      277 PARK AVENUE                                   NEW YORK        NY    10172                      212-883-4948        212-986-0604   ESCHMIDT@COZEN.COM
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     360I LLC & IPROSPECT.COM INC.                                   C/O UNDERWOOD PERKINS, P.C.                               ATTN: DAVID L. CAMPBELL, ESQ. & ELI D. PIERCE, ESQ.                                  TWO LINCOLN CENTRE, 5420 LBJ FREEWAY SUITE 190 DALLAS             TX    75240                      972-661-5114        972-661-5691   EPIERCE@UPLAWTX.COM
     360I LLC & IPROSPECTS.COM INC.                                  C/O MOSES & SINGER LLP                                    ATTN: JESSICA K. BONTEQUE, ESQ.                                                      THE CHRYSLER BUILDING, 405 LEXINGTON AVENUE 12NEW YORK            NY    10174                      212-554-7676                       JBONTEQUE@MOSESSINGER.COM
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     5TH AVENUE SALON LLC                                            C/O REED SMITH LLP                                        ATTN: KEITH M. AURZADA & MICHAEL P. COOLEY & LINDSEY L. ROBIN                        2501 N. HARWOOD, SUITE 1700                       DALLAS          TX    75201                      469-680-4200        469-680-4299   LROBIN@REEDSMITH.COM
     64 FACETS, INC                                                  C/O BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC    ATTN SUSAN C MATHEWS                                                                 1301 MCKINNEY STREET SUITE 3700                   HOUSTON         TX    77010                      713-286-7165        713-650-9701   SMATHEWS@BAKERDONELSON.COM
     64 FACETS, INC                                                  C/O BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC    ATTN JAN M HAYDEN                                                                    201 ST. CHARLES AVENUE SUITE 3600                 NEW ORLEANS     LA    70170                      504-566-8645        504-585-6945   JHAYDEN@BAKERDONELSON.COM
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     64 FACETS, INC., RICHLINE GROUP, INC., A. LINK JEWELRY CO., LLC,                                                                                                                                                                                                                                                                                     IWINTERS@KLESTADT.COM
     AND JEMMA WYNNE JEWELLERY, LLC                                   C/O KLESTADT WINTERS JURELLER SOUTHARD & STEVENS, LLP    ATTN: TRACY L. KLESTADT & IAN R. WINTERS & ANDREW C. BROWN                           200 WEST 41ST STREET 17TH FLOOR                   NEW YORK        NY    10036-7023                 212-972-3000        212-972-2245   ABROWN@KLESTADT.COM
     A LINK JEWELRY CO, LLC                                           C/O BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC   ATTN SUSAN C MATHEWS                                                                 1301 MCKINNEY STREET SUITE 3700                   HOUSTON         TX    77010                      713-286-7165        713-650-9701   SMATHEWS@BAKERDONELSON.COM
     A LINK JEWELRY CO, LLC                                           C/O BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC   ATTN JAN M HAYDEN                                                                    201 ST. CHARLES AVENUE SUITE 3600                 NEW ORLEANS     LA    70170                      504-566-8645        504-585-6945   JHAYDEN@BAKERDONELSON.COM
     ACCERTIFY, INC                                                   C/O BECKET & LEE LLP                                     ATTN: SHRADDHA BHARATIA, CLAIMS ADMINISTRATOR                                        PO BOX 3002                                       MALVERN         PA    19355-0702
     ACKERMAN, BEREN-SOSNICK, BOLENE, BORASKI, CARREIRO, FEIWUS,
     FRADIN, GODDARD, GORISCHEK, HUSSEY, KORNAJCIK, LIND,
     MARTENS, MCWILLIAMS, MCEVOY, MONSOUR, SAMUELSON, SHIELDS,
     STORDAHL WILLIAMS, & WYATT                                       C/O CARRINGTON COLEMAN SLOMAN & BLUMENTHAL LLP           ATTN: JASON M. KATZ                                                                  901 MAIN STREET SUITE 5500                        DALLAS          TX    75202                      214-855-3000        214-580-2641   JKATZ@CCSB.COM
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     AD HOC GROUP OF TERM LOAN LENDERS                               C/O VINSON & ELKINS LLP                                   ATTN: HARRY A. PERRIN & KIRAN VAKAMUDI                                               1001 FANNIN STREET SUITE 2500                     HOUSTON         TX    77002-6760                 713-758-2222        713-758-2346   KVAKAMUDI@VELAW.COM
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     AD HOC GROUP OF TERM LOAN LENDERS                               C/O WACHTELL, LIPTON, ROSEN & KATZ                        ATTN: JOSHUA A. FELTMAN & EMIL A. KLEINHAUS & STEPHANIE A. MARSHAK                   51 WEST 52ND STREET                               NEW YORK        NY    10019                      212-403-1000        212-403-2000   SAMARSHAK@WLRK.COM
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     AD HOC SECURED NOTEHOLDERS COMMITTEE                            C/O PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP          DIANE MYERS & NEAL DONNELLY & PATRICIA WALSH                                         1285 AVENUE OF THE AMERICAS                       NEW YORK        NY    10019                      212-373-3000        212-757-3990   PWALSH@PAULWEISS.COM
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     AD HOC SECURED NOTEHOLDERS COMMITTEE                            C/O PORTER HEDGES LLP                                     ATTN: JOHN F. HIGGINS & ERIC M. ENGLISH & M. SHANE JOHNSON                           1000 MAIN ST. 36TH FLOOR                          HOUSTON         TX    77002                      713-226-6000        713-228-1331   SJOHNSON@PORTERHEDGES.COM
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     AJD PLATINUM INC. D/B/A AMERICAN JEWELRY DESIGNS                C/O FOLEY & MANSFIELD PLLP                                ATTN: THOMAS J. LALLIER & CAMERON A. LALLIER                                         250 MARQUETTE AVENUE, SUITE 1200                  MINNEAPOLIS     MN    55401                      612-338-8788        612-338-8690   CLALLIER@FOLEYMANSFIELD.COM
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     AKRIS PRET A PORTER AG                                          ATTN: NADJA HOLLENSTEIN                                   835 MADISON AVENUE 4TH FLOOR                                                                                                           NEW YORK        NY    10021                      41-0-471-2277-857                  NADJA.HOLLENSTEIN@AKRIS.COM
     AKRIS, INC. AND AKRIS PRET-A-PORTER AG, CHANEL, INC., GIORGIO
     ARMANI CORPORATION, RALPH LAUREN CORPORATION, AND TORY
     BURCH LLC                                                       C/O SHEPPARD MULLIN RICHTER & HAMPTON LLP                 ATTN: JUSTIN BERNBROCK, ESQ.                                                         THREE FIRST NATIONAL PLAZA 70 WEST MADISON ST CHICAGO             IL    60602                     312-499-6300         312-499-6301   JBERNBROCK@SHEPPARDMULLIN.COM
     ALABAMA OFFICE OF THE ATTORNEY GENERAL                                                                                    501 WASHINGTON AVE                                                                                                                 MONTGOMERY          AL    36104                     334-242-7300         334-242-2433
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     ALEXANDER MCQUEEN                                                                                                         27 OLD BOND ST, MAYFAIR                                                                                                            LONDON                    W1S 4QE    UNITED KINGDOM 44-20-7355-0088
     ALEXANDER MCQUEEN                                               ATTN: DANIEL BYRNES                                       150 TOTOWA RD                                                                                                                      WAYNE               NJ    07470-3117                201-553-6926                        DANIEL.BYRNES@KERING.COM
     ALICE & OLIVIA LLC                                                                                                        450 WEST 14TH STREET                                                                                                               NEW YORK            NY    10014                     212-840-1155
     ALICE & OLIVIA LLC                                              ATTN: JILL DONAHOE - ACCOUNT EXECUTIVE                    1111 SECAUCUS ROAD                                                                                                                 SECAUCUS            NJ    07094                     646-747-1432                        JILL.DONAHOE@ALICEANDOLIVIA.COM
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     ALTER DOMUS PRODUCTS CORP. (F/K/A CORTLAND PRODUCTS                                                                                                                                                                                                                                                                                                  MMORAN@VELAW.COM
     CORP.) AS DIP AGENT                                             C/O VINSON & ELKINS LLP                                   ATTN: PAUL E. HEATH & MATTHEW W. MORAN & KATHERINE DRELL GRISSEL                     TRAMMELL CROW CENTER, 2001 ROSS AVENUE SUITEDALLAS                TX    75201-2975                 214-220-7700        214-220-7716   KGRISSEL@VELAW.COM
     ALTER DOMUS PRODUCTS CORP. (F/K/A CORTLAND PRODUCTS                                                                                                                                                                                                                                                                                                  HPERRIN@VELAW.COM
     CORP.) AS DIP AGENT                                             C/O VINSON & ELKINS LLP                                   ATTN: HARRY A. PERRIN & KIRAN VAKAMUDI                                               1001 FANNIN STREET SUITE 2500                     HOUSTON         TX    77002-6760                 713-758-2222        713-758-2346   KVAKAMUDI@VELAW.COM
     ALTER DOMUS PRODUCTS CORP. (F/K/A CORTLAND PRODUCTS                                                                                                                                                                                                                                                                                                  JAFELTMAN@WLRK.COM
     CORP.) AS DIP AGENT                                             C/O WACHTELL, LIPTON, ROSEN & KATZ                        ATTN: JOSHUA A. FELTMAN & EMIL A. KLEINHAUS                                          51 WEST 52ND STREET                               NEW YORK        NY    10019                                                         EAKLEINHAUS@WLRK.COM
     AMERICAN EXPRESS TRAVEL RELATED SERVICES CO, INC                C/O BECKET & LEE LLP                                      ATTN: SHRADDHA BHARATIA                                                              PO BOX 3001                                       MALVERN         PA    19355-0701
     ANKURA TRUST COMPANY, LLC, AS TRUSTEE AND NOTES
     COLLATERAL AGENT UNDER THE 14% SECOND LIEN NOTES DUE 2024
     ISSUED BY NEIMAN MARCUS GROUP LTD LLC, THE NEIMAN MARCUS
     GROUP LLC, MARIPOSA BORROWER, INC., AND THE NMG SUBSIDIARY
     LLC                                                             C/O HOGAN LOVELLS US LLP                                  ATTN: S. LEE WHITESELL                                                               609 MAIN ST., SUITE 4200                          HOUSTON         TX    77002                      713-632-1400        713-632-1401   LEE.WHITESELL@HOGANLOVELLS.COM
     ANKURA TRUST COMPANY, LLC, AS TRUSTEE AND NOTES
     COLLATERAL AGENT UNDER THE 14% SECOND LIEN NOTES DUE 2024
     ISSUED BY NEIMAN MARCUS GROUP LTD LLC, THE NEIMAN MARCUS
     GROUP LLC, MARIPOSA BORROWER, INC., AND THE NMG SUBSIDIARY                                                                                                                                                                                                                                                                                           DAVID.SIMONDS@HOGANLOVELLS.COM
     LLC                                                             C/O HOGAN LOVELLS US LLP                                  ATTN: DAVID SIMONDS & EDWARD MCNEILLY                                                1999 AVENUE OF THE STARS, SUITE 1400              LOS ANGELES     CA    90067                      310-785-4600        310-785-4601   EDWARD.MCNEILLY@HOGANLOVELLS.COM
     ANKURA TRUST COMPANY, LLC, AS TRUSTEE AND NOTES
     COLLATERAL AGENT UNDER THE 14% SECOND LIEN NOTES DUE 2024
     ISSUED BY NEIMAN MARCUS GROUP LTD LLC, THE NEIMAN MARCUS
     GROUP LLC, MARIPOSA BORROWER, INC., AND THE NMG SUBSIDIARY                                                                                                                                                                                                                                                                                           CHRIS.BRYANT@HOGANLOVELLS.COM
     LLC                                                             C/O HOGAN LOVELLS US LLP                                  ATTN: CHRISTOPHER R. BRYANT & ROBIN KELLER                                           390 MADISON AVENUE                                NEW YORK        NY    10017                      212-918-3000        212-918-3100   ROBIN.KELLER@HOGANLOVELLS.COM
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     ANNALY CRE LLC                                                  C/O WINSTEAD PC                                           ATTN: JOSEPH J. WIELEBINSKI & JASON A. ENRIGHT                                       500 WINSTEAD BUILDING 2728 N HARWOOD STREET       DALLAS          TX    75201                      214-745-5400        214-745-5390   JENRIGHT@WINSTEAD.COM
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     ARES                                                            C/O NORTON ROSE FULBRIGHT US LLP                          GOODRICH HARRISON                                                                    1301 MCKINNEY STREET SUITE 5100                   HOUSTON         TX    77010                      713-651-5151        713-651-5246   JASON.BOLAND@NORTONROSEFULBRIGHT.COM
                                                                                                                                                                                                                                                                                                                                                          DDUNNE@MILBANK.COM
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     AUSTIN BRODIE OAKS LLC C/O SPROUSE LAW FIRM                     ATTN: MARVIN E SPROUSE III                                11128 SHADY HOLLOW DR                                                                                                                  AUSTIN          TX    78748-1830                 512-658-1915                       MSPROUSE@SPROUSEPLLC.COM
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     BAL HARBOUR SHOPS, LLC                                          C/O ROSS & SMITH, PC                                      ATTN: JUDITH W. ROSS & RACHAEL L. SMILEY & FRANCES A. SMITH                          700 N. PEARL STREET, SUITE 1610                   DALLAS          TX    75201                      214-377-7879        214-377-9409   JUDITH.ROSS@JUDITHWROSS.COM
     BALENCIAGA AMERICA INC                                                                                                    150 TOTOWA RD                                                                                                                          WAYNE           NJ    07470-3117                 212-206-0872
     BALENCIAGA AMERICA INC                                          ATTN: DANIEL BYRNES                                       150 TOTOWA RD                                                                                                                          WAYNE           NJ    07470-3117                 201-553-6926                       DANIEL.BYRNES@KERING.COM
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     BALLY AMERICAS INC                                              C/O LOWENSTEIN SANDLER LLP                                ATTN: JEFFREY D. PROL, ESQ. & BRUCE S. NATHAN, ESQ.                                  1251 AVENUE OF THE AMERICAS 17TH FLOOR            NEW YORK        NY    10020                      212-262-6700                       BNATHAN@LOWENSTEIN.COM
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     BALLY AMERICAS INC                                              C/O LOWENSTEIN SANDLER LLP                                ATTN: JEFFREY D. PROL, ESQ. & BRUCE S. NATHAN, ESQ.                                  ONE LOWENSTEIN DRIVE                              ROSELAND        NJ    07068                      973-597-2500        973-597-2400   BNATHAN@LOWENSTEIN.COM
     BALMAIN USA LLC                                                 ATTN: ARDIANA BYTYQI - AR SPECIALIST                      667 MADISON AVE                                                                      FL 4                                              NEW YORK        NY    10065-8029                 917-262-0354                       ABYTYQI@BALMAIN.COM
     BARRACUDA NETWORKS INC.                                         C/O FRIEDMAN & SPRINGWATER LLP                            ATTN: ELLEN A FRIEDMAN                                                               350 SANSOME ST SUITE 800                          SAN FRANCISCO   CA    94104                      415-834-3800        415-834-1044   EFRIEDMAN@FRIEDMANSPRING.COM
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     BARRACUDA NETWORKS INC.                                         C/O ROCHELLE MCCULLOUGH, LLP                              ATTN: KEVIN D. MCCULLOUGH                                                            325 N ST. PAUL STREET SUITE 4500                  DALLAS          TX    75201                      214-953-0182        214-953-0185   STHOMAS@ROMCLAW.COM
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     BOTTEGA VENETA                                                                                                            VIA PRIVATA ERCOLE MARELLI 6                                                                                                           MILAN                 20136      ITALY           39-02-70-06-06-11
     BOTTEGA VENETA                                                  ATTN: DANIEL BYRNES                                       150 TOTOWA RD                                                                                                                          WAYNE           NJ    07470-3117                 201-553-6926                       DANIEL.BYRNES@KERING.COM
     BRIGADE CAPITAL MANAGEMENT, LP                                  C/O FOX ROTHSCHILD LLP                                    ATTN: TREY A. MONSOUR, ESQ.                                                          2501 N HARWOOD ST STE 1800                        DALLAS          TX    75201-1613                 972-991-0889        972-404-0516   TMONSOUR@FOXROTHSCHILD.COM
     BRIGADE CAPITAL MANAGEMENT, LP                                  C/O FOX ROTHSCHILD LLP                                    ATTN: TREY A. MONSOUR, ESQ.                                                          2843 RUSK STREET                                  HOSUTON         TX    77003                      713-927-7469                       TMONSOUR@FOXROTHSCHILD.COM
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     BRIONI ROMAN STYLE                                                                                                        VIA NAZARENO FONTICOLI 3                                                                                                               PENNE                 65017      ITALY           39-85-821-71
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     BROOKFIELD PROPERTY REIT, INC. & SIMON PROPERTY GROUP, L.P.     C/O KELLEY DRYE & WARREN LLP                              ATTN: ROBERT L. LEHANE & JENNIFER D. RAVIELE & SEAN T. WILSON                        101 PARK AVENUE                                   NEW YORK        NY    10178                      212-808-7800        212-808-7897   SWILSON@KELLEYDRYE.COM




In re: Neiman Marcus Group LTD LLC, et al.
Case No. 20-32519 (DRJ)                                                                                                                              For assistance, please contact Stretto by emailing TeamNMG@Stretto.com or by calling 877.670.2127 (toll-free).                                                                                                                              Page 1 of 5
                                                                                                           Case 20-33948 Document                                                                    Filed in TXSB on 07/02/21 Page 4 of 7
                                                                                                                                                                                                Master Service List
                                                                                                                                                                                                     As of July 2, 2021




                                     NAME                                                    ATTENTION                                                              ADDRESS 1                                                         ADDRESS 2                              CITY      STATE     ZIP         COUNTRY       TELEPHONE               FAX                        EMAIL
     BURBERRY LIMITED                                               C/O LEWIS BRISBOIS BISGAARD & SMITH, LLP                      ATTN: RICHARD S. LAUTER                                                            550 WEST ADAMS STREET SUITE 300                   CHICAGO         IL    60661                     312-463-3437         713-759-6830   RICHARD.LAUTER@LEWISBRISBOIS.COM
     BURBERRY LIMITED                                               C/O LEWIS BRISBOIS BISGAARD & SMITH, LLP                      ATTN: ANDREW W. GRAY                                                               24 GREENWAY PLAZA SUITE 1400                      HOUSTON         TX    77046                     713-659-6767         713-759-6830   ANDREW.GRAY@LEWISBRISBOIS.COM
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                                                                                                                                                                                                                                                                                                                       347-327-2711
     BURBERRY USA                                                   ATTN: AARON STOUT - DIRECTOR OF MEN'S WHOLESALE               444 MADISON AVE                                                                                                                      NEW YORK        NY    10022                     877-217-4085                        AARON.STOUT@BURBERRY.COM
     CALIFORNIA OFFICE OF THE ATTORNEY GENERAL                                                                                    PO BOX 944255                                                                                                                        SACRAMENTO      CA    94244-2550                916-210-6276
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     CANON FINANCIAL SERVICES, INC.                                 C/O PLATZER, SWERGOLD ET AL.                                  ATTN: CLIFFORD A. KATZ & TERESA SADUTTO-CARLEY                                     475 PARK AVENUE SOUTH 18TH FL                     NEW YORK        NY    10016                     212-593-3000                        CKATZ@PLATZERLAW.COM
     CAPITAL ONE, N.A.                                              C/O HUNTON ANDREWS KURTH LLP                                  ATTN: PHILIP M. GUFFY                                                              600 TRAVIS SUITE 4200                             HOUSTON         TX    77002-2929                713-220-4200                        PGUFFY@HUNTONAK.COM
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     CAPITAL ONE, N.A.                                              C/O HUNTON ANDREWS KURTH LLP                                  ATTN: GREGORY G. HESSE & JARRETT L. HALE & TARA L. ELGIE                           1445 ROSS AVENUE SUITE 3700                       DALLAS          TX    75202-2799                214-979-3000         214-880-0011   TELGIE@HUNTONAK.COM
     CARROLLTON-FARMERS BRANCH ISD, CITY OF GARLAND, GARLAND
     ISD                                                            C/O PERDUE BRANDON FIELDER COLLINS & MOTT LLP                 ATTN: LINDA D. REECE                                                               1919 S SHILOH ROAD SUITE 310                      GARLAND         TX    75042                     972-278-8282         817-860-6509   LREECE@PBFCM.COM
     CARVEN LUX PERFUMES INTL COSMETICS                                                                                           76-78 AVENUE DES CHAMPES-E LYSEES                                                                                                    PARIS                 75008        FRANCE                                           CONTACT@CARVEN-PARFUMS.COM
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     CARVEN LUX PERFUMES INTL COSMETICS                             ATTN: STEVEN LACOLLA - VP OF FINANCE                          30 W 21ST STREET 7TH FLOOR                                                                                                           NEW YORK        NY    10010                     917-860-2373                        SLACOLLA@ICPERFUMES.COM
     CHAMPION ENERGY SERVICES LLC                                   ATTN: W STEVEN BRYANT                                         C/O LOCKE LORD LLP                                                                 600 CONGRESS AVENUE STE 2200                      AUSTIN          TX    78701                     512-305-4726         512-305-4800   SBRYANT@LOCKELORD.COM
     CHANEL INC                                                     ATTN: DANIEL ROSENBERG                                        9 W 57TH STREET                                                                    44TH FLOOR                                        NEW YORK        NY    10019-2790                212-688-5055         212-752-1851   DANIELROSENBERG@CHANEL.COM
     CHANEL INC                                                     ATTN: CHRISTINE PALAKA                                        885 CENTENNIAL AVENUE                                                              SUITE 300                                         PISCATAWAY      NJ    08854                     732-980-3872                        CHRISTINE.PALAKA@CHANELUSA.COM
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     CHANEL, INC.                                                   C/O SHEPPARD MULLIN RICHTER & HAMPTON, LLP                    ATTN: JUSTIN BERNBROCK, ESQ. & MICHAEL DRISCOLL, ESQ.                              THREE FIRST NATIONAL PLAZA 70 WEST MADISON ST CHICAGO             IL    60602                     312-499-6300         312-499-6301   MDRISCOLL@SHEPPARDMULLIN.COM
     CHANEL, INC.                                                   C/O SHEPPARD MULLIN RICHTER & HAMPTON, LLP                    ATTN: MICHAEL T. DRISCOLL                                                          30 ROCKEFELLER PLAZA                          NEW YORK            NY    10112                     212-653-8700         212-653-8701   MDRISCOLL@SHEPPARDMULLIN.COM
     CHLOE INC                                                      ATTN: JAMES VILLAMANA - CONTROLLER                                                                                                                                                                                                                                                     JAMES.VILLAMANA@RICHEMONT.COM
     CHLOE INC                                                                                                                    5/7 AVENUE PERCIER                                                                                                                   PARIS                 75008        FRANCE
     CHRISTIAN LOUBOUTIN                                                                                                          19 RUE JEAN-JACQUES ROUSSEAU                                                                                                         PARIS                 75001        FRANCE       33-800-94-58-04                     INFO@CHRISTIANLOUBOUTIN.COM
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     CHRISTIAN LOUBOUTIN                                            ATTN: DAPHNE DAN - VP ACCOUNTING                              306 W 38TH STREET 4TH FLOOR                                                                                                          NEW YORK        NY    10018                     917-244-1190                        D.DAN@US.CHRISTIANLOUBOUTIN.COM
     CITY OF GRAPEVINE, GRAPEVINE-COLLEYVILLE ISD, DALLAS UTILITY
     AND RECLAMATION DISTRICT                                       C/O PERDUE BRANDON FIELDER COLLIN & MOTT LLP                  ATTN: EBONEY COBB                                                                  500 EAST BORDER ST SUITE 640                      ARLINGTON       TX    76010                     817-461-3344         817-860-6509   ECOBB@PBFCM.COM
     CITY OF KATY AND KATY MANAGEMENT DISTRICT #1                   C/O PERDUE, BRANDON, FIELDER, COLLINS & MOTT, LLP             ATTN: OWEN M. SONIK                                                                1235 NORTH LOOP WEST SUITE 600                    HOUSTON         TX    77008                     713-862-1860         713-862-1429   OSONIK@PBFCM.COM
     CLAY JOHNSON, III, JAMES MABRY, JESSICA B. WEILAND, TERESA
     GRADIDGE, JO MARIE LILLY, &DONNA DENISE                        C/O SQUIRE PATTON BOGGS                                       ATTN: S. CASS WEILAND                                                              2000 MCKINNEY AVENUE SUITE 1700                   DALLAS          TX    75201                     214-758-1504         214-758-1550   CASS.WEILAND@SQUIREPB.COM
     CLOUDIYAN, LLC                                                 C/O H.R. CHAPIN, ATTORNEY & COUNSELOR, PLLC                   ATTN: HERSHEL R. CHAPIN                                                            4301 ALPHA RD                                     DALLAS          TX    75244                     972-707-7482         214-736-3945   HCHAPIN@GMAIL.COM
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     COLCOUNTY TAX ASSESSOR/COLLECTOR                               C/O ABERNATHY, ROEDER, BOYD & HULLETT, P.C.                   ATTN: CHAD D. TIMMONS & LARRY R. BOYD                                              1700 REDBUD BLVD SUITE 300                        MCKINNEY        TX    75069                     214-544-4000         214-544-4040   LBOYD@ABERNATHY-LAW.COM
     COLORADO OFFICE OF THE ATTORNEY GENERAL                                                                                      RALPH L. CARR JUDICIAL BUILDING                                                    1300 BROADWAY, 10TH FL                            DENVER          CO    80203                     720-508-6000         720-508-6030
     CONGRESSIONAL PLAZA ASSOCIATES LLC & THE MACERICH
     COMPANY & UNIBAIL RODAMCO WESTFIELD LLC & ERY REALTY                                                                                                                                                                                                                                                                                                  BRANCHD@BALLARDSPAHR.COM
     PODIUM, LLC                                                    C/O BALLARD SPAHR LLP                                         ATTN: DUSTIN P. BRANCH & BRIAN D. HUBEN                                            2029 CENTURY PARK EAST SUITE 800                  LOS ANGELES     CA    90067-2909                424-204-4400         424-204-4350   HUBENB@BALLARDSPAHR.COM
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     PODIUM, LLC                                                    C/O REED SMITH LLP                                            ATTN: KEITH M. AURZADA & MICHAEL P. COOLEY & DEVAN J. DA COL                       2850 N. HARWOOD SUITE 1500                        DALLAS          TX    75201                     469-680-4200         469-680-4299   MPCOOLEY@REEDSMITH.COM
     CONGRESSIONAL PLAZA ASSOCIATES LLC & THE MACERICH
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     PODIUM, LLC                                                    C/O BALLARD SPAHR, LLP                                        ATTN: LESLIE C. HEILMAN & LAUREL D. ROGLEN                                         919 NORTH MARKET ST 11TH FLOOR                WILMINGTON          DE    19801-3034                302-252-4465         302-252-4466   ROGLENL@BALLARDSPAHR.COM
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     COTY INC.                                                      C/O SHEPPARD MULLIN RICHTER & HAMPTON LLP                     ATTN: JUSTIN BERNBROCK, ESQ.                                                       THREE FIRST NATIONAL PLAZA 70 WEST MADISON ST CHICAGO             IL    60602                     312-499-6300         312-499-6301   JBERNBROCK@SHEPPARDMULLIN.COM
     COTY INC.                                                      C/O SHEPPARD MULLIN RICHTER & HAMPTON LLP                     ATTN: ROBERT S. FRIEDMAN, ESQ.                                                     30 ROCKEFELLER PLAZA                          NEW YORK            NY    10112                     212-653-8700         212-653-8701   RFRIEDMAN@SHEPPARDMULLIN.COM
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     CPP INVESTMENT BOARD USRE, INC.                                C/O PILLSBURY WINTHROP SHAW PITTMAN LLP                       ATTN: HUGH M. RAY, III & WILLIAM J. HOTZE & JASON S. SHARP                         TWO HOUSTON CENTER 909 FANNIN, SUITE 2000         HOUSTON         TX    77010-1028                713-276-7600         713-276-7673   JASON.SHARP@PILLSBURYLAW.COM
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     CPP INVESTMENT BOARD USRE, INC.                                C/O DEBEVOISE & PLIMPTON, LLP                                 ATTN: JASMINE BALL & ERICA WEISGERBER                                              919 THIRD AVENUE                                  NEW YORK        NY    10022                     212-909-6000         212-909-6836   EWEISGERBER@DEBEVOISE.COM
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     CREDIT SUISSE AG, CAYMAN ISLANDS BRANCH                        C/O HAYNES AND BOONE, LLP                                     ATTN: CHARLES A. BECKHAM, JR. & MARTHA WYRICK                                      1221 MCKINNEY STREET, SUITE 4000                  HOUSTON         TX    77010-2008                713-547-2000         713-547-2600   MARTHA.WYRICK@HAYNESBOONE.COM
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     CRITEO CORP                                                    ATTN: CAROLINE PINGON                                         PO BOX 123520                                                                                                                        DALLAS          TX    75312-3520                650-322-6260                        C.PINGON@CRITEO.COM
     CRITEO CORP                                                    ATTN: RYAN DAMON, GENERAL COUNSEL                             387 PARK AVE SOUTH 12TH FLOOR                                                                                                        NEW YORK        NY    10016                     646-410-0400         646-410-0234   R.DAMON@CRITEO.COM
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     CRITEO CORP.                                                   C/O HAHN & HESSEN LLP                                         ATTN: JANINE M. FIGUEIREDO AND JACOB T. SCHWARTZ                                   488 MADISON AVENUE                                NEW YORK        NY    10022                     212-478-7200         212-478-7400   JSCHWARTZ2@HAHNHESSEN.COM
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     CROWN COLOR US, LLC                                            C/O ROSS & SMITH, PC                                          ATTN: JUDITH W. ROSS & ERIC SODERLUND                                              700 N PEARL STREET SUITE 1610                     DALLAS          TX    75201                     214-377-7879         214-377-9409   ERIC.SODERLUND@JUDITHWROSS.COM
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     DAVID YURMAN ENTERPRISES LLC                                   ATTN: BART NG - SR. DIRECTOR OF AP AND AR                     24 VESTRY STREET 11TH FLOOR                                                                                                          NEW YORK        NY    10013                     646-264-7246                        BNG@DAVIDYURMAN.COM
     DAVIDOR LLC                                                    C/O FRIEDMAN & FEIGER, LLP                                    ATTN: SEYMOUR ROBERTS JR.                                                          5301 SPRING VALLEY ROAD SUITE 200                 DALLAS          TX    75254                     972-788-1400         972-788-2667   SROBERTS@FFLAWOFFICE.COM
     DELAWARE DEPARTMENT OF JUSTICE                                                                                               CARVEL STATE OFFICE BUILDING                                                       820 N FRENCH STREET                               WILMINGTON      DE    19801                     302-577-8400         302-577-6499   ATTORNEY.GENERAL@DELAWARE.GOV
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     DELL MARKETING, L.P.                                           C/O STREUSAND LANDON OZBURN & LEMMON                          ATTN: SABRINA L. STREUSAND & ANH NGUYEN                                            1801 S MOPAC EXPRESSWAY SUITE 320                 AUSTIN          TX    78746                     512-236-9901         512-236-9904   NGUYEN@SLOLLP.COM
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     DEUTSCHE BANK AG NEW YORK BRANCH                               C/O GRAY REED & MCGRAW LLP                                    ATTN: JASON S. BROOKNER & PAUL D. MOAK & LYDIA R. WEBB                             1300 POST OAK BLVD SUITE 2000                     HOUSTON         TX    77056                     713-986-7000         713-986-7100   LWEBB@GRAYREED.COM
                                                                                                                                                                                                                                                                                                                                                           GKURTZ@WHITECASE.COM
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                                                                                                                                                                                                                                                                                                                                                           AZATZ@WHITECASE.COM
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     DEUTSCHE BANK AG NEW YORK BRANCH                               C/O WHITE & CASE LLP                                          ATTN: SCOTT GREISSMAN & ANDREW ZATZ & RASHIDA ADAMS                                1221 AVENUE OF THE AMERICAS                       NEW YORK        NY    10020-1095                212-819-8903         212-354-8113   RASHIDA.ADAMS@WHITECASE.COM
     DOLCE AND GABBANA USA INC                                      ATTN: RUGGERO CATERINI                                        900 SECAUCUS ROAD UNIT C                                                                                                             SECAUCUS        NJ    07094                     212-750-0055                        RUGGERO.CATERINI@DOLCEGABBANA.IT
     EBATES PERFORMANCE MARKETING, INC                              ATTN: GREG KAPLAN                                             800 CONCOR DR                                                                      SUITE 175                                         SAN MATEO       CA    94402                     415-908-2200                        GREG.A.KAPLAN@RAKUTEN.COM
     EBATES PERFORMANCE MARKETING, INC.                             C/O FINESTONE & HAYES LLP                                     ATTN: STEPHEN FINESTONE, ESQ.                                                      456 MONTGOMERY ST 20TH FLOOR                      SAN FRANCISCO   CA    94104                     415-421-2624                        SFINESTONE@FHLAWLLP.COM
                                                                                                                                                                                                                                                                                                                       914-721-4065                        SHEN.CHIN@EILEENFISHER.COM
     EILEEN FISHER                                                  ATTN: EILEEN FISHER                                           2 BRIDGE ST                                                                        STE 230                                           IRVINGTON       NY    10533                     914-591-5700         914-591-8824   ONLINESUPPORT@EILEENFISHER.COM
     ELICIT LLC                                                     ATTN: LAUREN DREXLER & MASON THELEN CEO                       650 3RD AVENUE, SUITE 1500                                                                                                           MINNEAPOLIS     MN    55402                     914-980-5143                        LAUREN.DREXLER@ELICITINSIGHTS.COM
     ELJM CONSULTING LLC                                            C/O MORRISON COHEN LLP                                        ATTN: JOSEPH T. MOLDOVAN, ESQ. & DAVID J. KOZLOWSKI, ESQ.                          909 THIRD AVENUE                                  NEW YORK        NY    10022                     212-735-8600         212-735-8708   BANKRUPTCY@MORRISONCOHEN.COM
     EMSARU JEWELS CORP.                                            C/O GODWIN BOWMAN PC                                          ATTN: SIDNEY H. SCHEINBERG & RILEY F. TUNNELL                                      1201 ELM STREET SUITE 1700                        DALLAS          TX    75270                     214-939-4501         214-527-3116   SSCHEINBERG@GODWINBOWMAN.COM
     ERMENEGILDO ZEGNA TOM FORD                                                                                                   VIA ROMA 99-100                                                                                                                      TRIVERO               13835      ITALY          39-15-75911          39-15-756139
     ERMENEGILDO ZEGNA TOM FORD                                     ATTN: ACEL JOSEPH                                             10 E 53RD ST                                                                       FL 7                                              NEW YORK        NY    10022-0011                201-735-0388                        ACEL.JOSEPH@ZEGNA.COM
     ESTEE LAUDER COMPANIES                                         ATTN: KENNETH I. CRUZ                                         7 CORPORATE CENTER DRIVE                                                                                                             MELVILLE        NY    11747                     347-534-8347                        KECRUZ@ESTEE.COM
     ESTELLE DIEHL                                                  C/O SMALL LAW PC                                              ATTN: KELLY ANN TRAN                                                               501 W BROADWAY SUITE 1360                         SAN DIEGO       CA    92101-8566                619-430-4793         619-664-4278   KELLY@SMALLLAWCORP.COM
                                                                                                                                                                                                                                                                                                                       212-784-5812         212-784-5774   RGROSS@BARCLAYDAMON.COM
     ETRO USA, INC                                                  ATTN: ROBERT K GROSS & JANICE B GRUBIN                        C/O BARCLAY DAMON LLP                                                              1270 AVENUE OF THE AMERICAS SUITE 501             NEW YORK        NY    10020                     212-784-5808         212-784-5775   JGRUBIN@BARCLAYDAMON.COM
     FACEBOOK INC                                                   ATTN: KARIN TRACY - US HEAD OF INDUSTRY                       1601 S CALIFORNIA AVENUE                                                                                                             PALO ALTO       CA    94304-1111                646-745-6871                        KARINT@FB.COM
                                                                                                                                                                                                                                                                                                                       212-838-9470
     FERRAGAMO USA INC                                                                                                            663 FIFTTH AVENUE                                                                                                                    NEW YORK        NY    10022                     212-759-3822         212-751-9111
                                                                                                                                                                                                                                                                                                                       201-553-6139
     FERRAGAMO USA INC                                              ATTN: FRANK TORRENT - VP CONTROLLER                           700 CASTLE ROAD                                                                                                                      SECAUCUS        NJ    07094                     973-931-8187                        FRANK.TORRENT@FERRAGAMO.COM
     FERRAGAMO USA INC.                                             C/O COZEN O'CONNOR                                            ATTN: BRYAN P. VEZEY                                                               1221 MCKINNEY SUITE 2900                          HOUSTON         TX    77010                     832-214-3900         832-214-3905   BVEZEY@COZEN.COM
     FERRAGAMO USA INC.                                             C/O COZEN O'CONNOR                                            ATTN: FREDERICK E. SCHMIDT, JR.                                                    277 PARK AVENUE                                   NEW YORK        NY    10172                     212-883-4948         212-986-0604   ESCHMIDT@COZEN.COM
     FIBERNET DIRECT TEXAS LLC N/K/A CROWN CASTLE FIBER LLC         C/O LISKOW & LEIWS                                            ATTN: MICHAEL D. RUBENSTEIN                                                        1001 FANNIN STREET, SUITE 1800                    HOUSTON         TX    77002                     713-651-2953         713-651-2952   MDRUBENSTEIN@LISKOW.COM
     FLORIDA OFFICE OF THE ATTORNEY GENERAL                                                                                       STATE OF FLORIDA                                                                   THE CAPITOL PL-01                                 TALLAHASSEE     FL    32399                     850-414-3300         850-488-4483
     FORT BEND COUNTY & HARRIS COUNTY                               C/O LINEBARGER GOGGAN BLAIR & SAMPSON, LLP                    ATTN: JOHN P. DILLMAN                                                              PO BOX 3064                                       HOUSTON         TX    77253-3064                713-844-3400         713-844-3503   HOUSTON BANKRUPTCY@PUBLICANS.COM
     FOUR HANDS, LLC                                                C/O RICHARDS RODRIGUEZ & SKEITH, LLP                          ATTN: BENJAMIN H. HATHAWAY                                                         816 CONGRESS AVENUE SUITE 1200                    AUSTIN          TX    78701                     512-476-0005         512-476-1513   BHATHAWAY@RRSFIRM.COM
                                                                                                                                                                                                                                                                                                                       646-494-9618
     FRAME DENIM                                                    ATTN: BRITTANY MILLER - SENIOR ACCOUNT EXECUTIVE              3578 HAYDEN AVE                                                                    STE N1                                            CULVER CITY     CA    90232-2486                310-507-7888                        BRITTANY.MILLER@FRAME-BRAND.COM
     FRANCK MULLER USA, INC.                                        C/O KLEINBERG, KAPLAN, WOLFF & COHEN, PC                      ATTN: BARRY R. KLEINER (DOV)                                                       500 FIFTH AVENUE                                  NEW YORK        NY    10110                     212-986-6000         212-986-8866   DKLEINER@KKWC.COM
     FURLA USA INC., MARCO BICEGO INC., & MONCLER USA INC.          C/O MORRISON COHEN LLP                                        ATTN: JOSEPH T. MOLDOVAN, ESQ. & DAVID J. KOZLOWSKI, ESQ.                          909 THIRD AVENUE                                  NEW YORK        NY    10022                     212-735-8600         212-735-8708   BANKRUPTCY@MORRISONCOHEN.COM
     G&C STEWART CORPORATION                                        C/O LEO FOX                                                   ATTN: LEO FOX                                                                      630 THIRD AVE, 18TH FL                            NEW YORK        NY    10017                     212-867-9595         212-949-1857   LEO@LEOFOXLAW.COM
     GEORGIA OFFICE OF THE ATTORNEY GENERAL                                                                                       40 CAPITOL SQ SW                                                                                                                     ATLANTA         GA    30334                     404-656-3300         404-657-8733
     GIORGIO ARMANI (CONSIGN)                                                                                                     450 W 15TH ST                                                                      STE 3                                             NEW YORK        NY    10011-7097                212-209-3500
                                                                                                                                                                                                                                                                                                                       212-209-3551
     GIORGIO ARMANI (CONSIGN)                                       ATTN: ERIC SILVERMAN - SENIOR DIRECTOR OF CREDIT & TREASURY   99 PARK AVENUE                                                                                                                       NEW YORK        NY    10016                     917-287-9930                        ESILVERMAN@GIORGIOARMANI.COM
     GIVENCHY CORP                                                                                                                ACCOUNT 5800356080                                                                 6418 PAYSPHERE CIRCLE                             CHICAGO         IL    60674
                                                                                                                                                                                                                                                                                                                       646-346-7616
     GIVENCHY CORP                                                  ATTN: MENDY HUANG                                             19 E 57TH STREET                                                                                                                     NEW YORK        NY    10022                     917-209-1949                        MENDY.HUANG@LVMHFASHION.COM




In re: Neiman Marcus Group LTD LLC, et al.
Case No. 20-32519 (DRJ)                                                                                                                               For assistance, please contact Stretto by emailing TeamNMG@Stretto.com or by calling 877.670.2127 (toll-free).                                                                                                                           Page 2 of 5
                                                                                                             Case 20-33948 Document                                                             Filed in TXSB on 07/02/21 Page 5 of 7
                                                                                                                                                                                           Master Service List
                                                                                                                                                                                                As of July 2, 2021




                                     NAME                                                     ATTENTION                                                        ADDRESS 1                                                            ADDRESS 2                              CITY    STATE       ZIP      COUNTRY         TELEPHONE            FAX                          EMAIL
                                                                                                                                                                                                                                                                                                                                                      AFRIEDMAN@OLSHANLAW.COM
     GORSKI GROUP, LTD.                                             C/O OLSHAN FROME WOLOSKY LLP                             ATTN: ADAM H. FRIEDMAN & JONATHAN T. KOEVARY                                       1325 AVENUE OF AMERICAS                           NEW YORK         NY      10019                     212-451-2300      212-451-2222   JKOEVARY@OLSHANLAW.COM
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     GUCCI AMERICA                                                  ATTN: DANIEL BYRNES                                      150 TOTOWA RD                                                                                                                        WAYNE            NJ      07470-3117                877-482-2430      75922305       CLIENTSERVICE-EUROPE@IT.GUCCI.COM
                                                                                                                                                                                                                                                                                                                                                      KDM@ROMCLAW.COM
     HANRO, USA, LTD.                                               C/O ROCHELLE MCCULLOUGH, LLP                             ATTN: KEVIN D. MCCULLOUGH & SHANNON S. THOMAS                                      325 N ST. PAUL STREET SUITE 4500                  DALLAS           TX      75201                     214-953-0182      214-953-0185   STHOMAS@ROMCLAW.COM
     HAWAII DEPARTMENT OF THE ATTORNEY GENERAL                                                                               425 QUEEN STREET                                                                                                                     HONOLULU         HI      96813                     808-586-1500      808-586-1239
     IDAHO OFFICE OF THE ATTORNEY GENERAL                                                                                    700 W. JEFFERSON ST, SUITE 210                                                                                                       BOISE            ID      83720                     208-334-2400      208-334-4151
     ILLINOIS OFFICE OF THE ATTORNEY GENERAL                                                                                 JAMES R. THOMPSON CENTER                                                           100 W. RANDOLPH ST                                CHICAGO          IL      60601                     312-814-3000
     INDEPENDENT MANAGERS OF NEIMAN MARCUS GROUP LTD LLC            C/O WILLKIE FARR & GALLAGHER LLP                         ATTN: JENNIFER J. HARDY                                                            800 CAPITOL ST STE 2070                           HOUSTON          TX      77002-2936                713-510-1700      713-510-1799   JHARDY2@WILLKIE.COM
     INDEPENDENT MANAGERS OF NEIMAN MARCUS GROUP LTD LLC            C/O WILLKIE FARR & GALLAGHER LLP                         ATTN: BRIAN S. LENNON                                                              787 SEVENTH AVENUE                                NEW YORK         NY      10019                     212-728-8000      212-728-8111   BLENNON@WILLKIE.COM
     INDIANA ATTORNEY GENERAL'S OFFICE                                                                                       INDIANA GOVERNMENT CENTER SOUTH                                                    302 W WASHINGTON ST 5TH FL                        INDIANAPOLIS     IN      46204                     317-232-6201      317-232-7979
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     INFOSYS LIMITED                                                C/O BENESCH, FRIEDLANDER, COPLAN & ARONOFF LLP           ATTN: KEVIN M. CAPUZZI & KATE HARMON                                               1313 N MARKET ST FL 12                            WILMINGTON       DE      19801-1151              302-442-7010        302-442-7012   KHARMON@BENESCHLAW.COM
     INTERNAL REVENUE SERVICE                                                                                                DEPARTMENT OF TREASURY                                                                                                               OGDEN            UT      84201-0045
     INTERNAL REVENUE SERVICE                                       ATTN: CENTRALIZED INSOLVENCY OPERATION                   2970 MARKET ST.                                                                                                                      PHILADELPHIA     PA      19104-5016
     INTERNAL REVENUE SERVICE                                       ATTN: CENTRALIZED INSOLVENCY OPERATION                   PO BOX 7346                                                                                                                          PHILADELPHIA     PA      19101-7346
     INTERNAL REVENUE SERVICE                                       HOUSTON DIVISION                                         1919 SMITH STREET                                                                                                                    HOUSTON          TX      77002
     IOWA OFFICE OF THE ATTORNEY GENERAL                                                                                     HOOVER STATE OFFICE BUILDING                                                       1305 E. WALNUT STREET RM 109                      DES MOINES       IA      50319                   515-281-5164        515-281-4209
     IRON MOUNTAIN INFORMATION MANAGEMENT, INC.                     C/O HACKETT FEINBERG P.C.                                ATTN: FRANK F. MCGINN                                                              155 FEDERAL STREET 9TH FLOOR                      BOSTON           MA      02110                   617-422-0200        617-422-0383   FFM@BOSTONBUSINESSLAW.COM
     ISS FACILITY SERVICES, INC.                                    C/O LANGLEY & BANACK, INCORPORATED                       ATTN: ALLEN M. DEBARD                                                              TRINITY PLAZA II 745 EAST MULBERRY SUITE 700      SAN ANTONIO      TX      78212-3166              210-736-6600        210-735-6889   ADEBARD@LANGLEYBANACK.COM
     J. SCOTT DOUGLAS                                                                                                        1811 BERING DR., SUITE 420                                                                                                           HOUSTON          TX      77057                   713-227-7492        713-227-7497   JSD@AOL.COM
     JEFFERIES LEVERAGED CREDIT PRODUCTS, LLC                       C/O ORRICK, HERRINGTON & SUTCLIFFE LLP                   ATTN: MICHAEL NICOLELLA                                                            2121 MAIN STREET                                  WHEELING         WV      26003                   304-231-2882                       MNICOLELLA@ORRICK.COM
     JEFFERIES LEVERAGED CREDIT PRODUCTS, LLC                       C/O ORRICK, HERRINGTON & SUTCLIFFE LLP                   ATTN: RYAN WOOTEN                                                                  609 MAIN STREET 40TH FL                           HOUSTON          TX      77002                   713-658-6400        713-658-6401   RWOOTEN@ORRICK.COM
     JEMMA WYNNE JEWELLERY, LLC                                     C/O BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC   ATTN SUSAN C MATHEWS                                                               1301 MCKINNEY STREET SUITE 3700                   HOUSTON          TX      77010                   713-286-7165        713-650-9701   SMATHEWS@BAKERDONELSON.COM
     JEMMA WYNNE JEWELLERY, LLC                                     C/O BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC   ATTN JAN M HAYDEN                                                                  201 ST. CHARLES AVENUE SUITE 3600                 NEW ORLEANS      LA      70170                   504-566-8645        504-585-6945   JHAYDEN@BAKERDONELSON.COM
     JIMMY CHOO                                                                                                              10 HOWICK PLACE                                                                                                                      LONDON                   SW1P 1GW UNITED KINGDOM 44-800-044-3221
     JIMMY CHOO                                                     ATTN: KADRI MERILA - CREDIT MANAGER                      750 LEXINGTON AVENUE 22ND FLOOR                                                                                                      NEW YORK         NY      10022                   44-0-20-7947-5960                  KADRI.MERILA@JIMMYCHOO.COM
                                                                                                                                                                                                                                                                                                                   866-942-8806                       INFO@JOHNNYWAS.COM
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     KANSAS OFFICE OF THE ATTORNEY GENERAL                                                                                   120 SW 10TH AVE                                                                    2ND FL                                            TOPEKA           KS      66612                   785-296-2215        785-296-6296
     KAREN KATZ                                                     C/O BUTLER SNOW LLP                                      ATTN: MARTIN A. SOSLAND                                                            2911 TURTLE CREEK BLVD SUITE 1400                 DALLAS           TX      75219                   469-680-5502        469-680-5501   MARTIN.SOSLAND@BUTLERSNOW.COM
     KENTUCKY OFFICE OF THE ATTORNEY GENERAL                                                                                 CAPITOL BUILDING                                                                   700 CAPITOL AVE STE 118                           FRANKFORT        KY      40601                   502-696-5300
     KERING AMERICAS, INC.                                          ATTN: LAURENT CLAQUIN                                    75 BLEECKER STREET                                                                 2ND FLOOR                                         NEW YORK         NY      10012                   212-478-9080                       LAURENTCLAQUIN@KERING.COM
     KERING AMERICAS, INC. AND EACH OF ITS AFFILIATED BRANDS &
     LVMH MOËT HENNESSY LOUIS VUITTON INC. AND CERTAIN OF ITS
     AFFILIATED BRANDS & RICHEMONT NORTH AMERICA, INC. AND EACH                                                                                                                                                                                                                                                                                       SLIEBERMAN@PRYORCASHMAN.COM
     OF ITS AFFILIATED BRANDS & DAVID YURMAN ENTERPRISES LLC        C/O PRYOR CASHMAN LLP                                    ATTN: SETH H. LIEBERMAN & ANDREW S. RICHMOND                                       7 TIMES SQUARE                                    NEW YORK         NY      10036-6569                212-421-4100                     ARICHMOND@PRYORCASHMAN.COM
     KERING AMERICAS, INC. AND EACH OF ITS AFFILIATED BRANDS &
     LVMH MOËT HENNESSY LOUIS VUITTON INC. AND CERTAIN OF ITS
     AFFILIATED BRANDS & RICHEMONT NORTH AMERICA, INC. AND EACH                                                                                                                                                                                                                                                                                       JSPARACINO@MCKOOLSMITH.COM
     OF ITS AFFILIATED BRANDS & DAVID YURMAN ENTERPRISES LLC        C/O MCKOOL SMITH P.C.                                    ATTN: JOHN J. SPARACINO & VERONICA F. MANNING                                      600 TRAVIS ST., SUITE 7000                        HOUSTON          TX      77002                     713-485-7300      713-485-7344   VMANNING@MCKOOLSMITH.COM
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     L&B DEPP INWOOD VILLAGE, LP                                    C/O SETTLEPOU                                            ATTN: MICHAEL P. MENTON & WILL G. BASSHAM                                          3333 LEE PARKWAY 8TH FLOOR                  DALLAS                 TX      75219                     214-520-3300      214-526-4145   WHASSHAM@SEULEPOU.COM
     LA MER                                                         C/O ESTEE LAUDER COMPANIES                               ATTN: KENNETH I. CRUZ                                                              200 AIMEE DRIVE                             FREEHOLD               NJ      07728                     631-847-8470                     KECRUZ@ESTEE.COM
     LA MER                                                         ATTN: MANDI LOIACONO                                     7 CORPORATE CENTER DRIVE                                                                                                       MELVILLE               NY      11747                     631- 847-8445                    MLOIACON@ESTEE.COM
     LA PRAIRIE INC                                                                                                          41 MADISON AVE                                                                     #40                                         NEW YORK               NY      10010-2202                212-506-0804
     LA PRAIRIE INC                                                 ATTN: THERESA CHIN                                       30 ETHEL ROAD                                                                                                                  EDISON                 NJ      08817                     212-506-0875                     THERESA.CHIN@LAPRAIRIE.COM
     LAFAYETTE 148 INC                                              ATTN: SYLVIA HUANG                                       141 FLUSHING AVENUE                                                                BUILDING 77, 14TH FLOOR                     BROOKLYN               NY      11205                     646-922-1711                     SYLVIA.HUANG@LAFAYETTE148.COM
     LAGOS, INC.                                                    C/O KLEINBARD LLC                                        ATTN: E. DAVID CHANIN                                                              THREE LOGAN SQUARE 5TH FLOOR 1717 ARCH STREEPHILADELPHIA           PA      19103                     215-523-5330      215-568-0140   DCHANIN@KLEINBARD.COM
     LANA AND NATHANIEL GREY D/B/A LOMDEN ESTATE                    C/O MEYERS LAW GROUP, P.C.                               ATTN: MERLE C. MEYERS                                                              44 MONTGOMERY ST., STE. 1010                SAN FRANCISCO          CA      94104                     415-362-7500      415-362-7515   MMEYERS@MEYERSLAWGROUP.COM
     LANA AND NATHANIEL GREY D/B/A LOMDEN ESTATE AND LOMDEN
     DISTRIBUTIONS, INC.                                            C/O BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ       ATTN: SUSAN C. MATHEWS                                                             1301 MCKINNEY ST. SUITE 3700                      HOUSTON          TX      77010                     713-650-9700      713-650-9701   SMATHEWS@BAKERDONELSON.COM
     LANA UNLIMITED, CO.                                            C/O HORWOOD MARCUS & BERK CHARTERED                      ATTN: AARON L. HAMMER & NATHAN E. DELMAN                                           500 WEST MADISON STREET, SUITE 3700               CHICAGO          IL      60661                     312-606-3200      312-606-3232
     LARRY NEAL SKINNER                                             ATTN: JOYCE W. LINDAUER & KERRY S. ALLEYNE               1412 MAIN STREET                                                                   SUITE 500                                         DALLAS           TX      75202                     972-503-4033      972-503-4034   JOYCE@JOYCELINDAUER.COM
     LCFRE AUSTIN BRODIE OAKS LLC                                   C/O SPROUSE LAW FIRM                                     ATTN: MARVIN E. SPROUSE III                                                        901 MOPAC EXPWY S BLDG 1 SUITE 300                AUSTIN           TX      78746                     512-658-1915                     MSPROUSE@SPROUSEPLLC.COM
     LEXON INSURANCE COMPANY AND ENDURANCE ASSURANCE
     CORPORATION                                                    C/O HARRIS BEACH PLLC                                    ATTN: LEE E. WOODARD, ESQ.                                                         333 W WASHINGTON STREET SUITE 200                 SYRACUSE         NY      13202                     315-423-7100                     BKEMAIL@HARRISBEACH.COM
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     LOMBARDI SRL                                                   ATTN: SIDNEY H. SCHEINBERG                               C/O GODWIN BOWMAN PC                                                               1201 ELM STREET SUITE 1700                        DALLAS           TX      75270                     214-939-4501      214-527-3116   SSCHEINBERG@GODWINBOWMAN.COM
     LOUIS VUITTON USA INC.                                         C/O BARACK FERRAZZANO KIRSCHBAUM & NAGELBERG LLP         ATTN: NATHAN Q. RUGG                                                               200 WEST MADISON STREET SUITE 3900                CHICAGO          IL      60606                     312-984-3100      312-984-3150   NATHAN.RUGG@BFKN.COM
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     MANOLO BLAHNIK AMERICAS LLC                                    C/O DENTONS US LLP                                       ATTN: ROBERT A. HAMMEKE                                                            4520 MAIN STREET                                  KANSAS CITY      MO      64111-7700                816-460-2457      816-531-7545   ROBERT.HAMMEKE@DENTONS.COM
     MANOLO BLAHNIK AMERICAS LLC                                                                                             31 W 54TH ST                                                                                                                         NEW YORK         NY      10019                     212-582-3007
     MANOLO BLAHNIK AMERICAS LLC                                    C/O DENTONS US LLP                                       ATTN: CASEY DOHERTY                                                                1221 MCKINNEY STREET SUITE 1900                   HOUSTON          TX      77010                     713-658-4600      713-739-0834   CASEY.DOHERTY@DENTONS.COM
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     MARBLE RIDGE CAPITAL LP                                        C/O FOLEY & LARDNER LLP                                  ATTN: JOHN P. MELKO & T. MICHAEL WALL                                              1000 LOUISIANA STREET SUITE 2000                  HOUSTON          TX      77002-5011                713-276-5791                     TMWALL@FOLEY.COM
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                                                                                                                                                                                                                                                                                                                                                      SWISSNER-GROSS@BROWNRUDNICK.COM
                                                                                                                             ATTN: EDWARD S. WEISFELNER & SIGMUND S. WISSNER-GROSS & JESSICA N.                                                                                                                                                       JMEYERS@BROWNRUDNICK.COM
     MARBLE RIDGE CAPITAL LP & MARBLE RIDGE MASTER FUND LP          C/O BROWN RUDNICK LLP                                    MEYERS & UCHECHI EGEONUIGWE                                                        SEVEN TIMES SQUARE                                NEW YORK         NY      10036                     212-209-4800      212-209-4801   UEGEONUIGWE@BROWNRUDNICK.COM
     MARBLE RIDGE CAPITAL LP, MARBLE RIDGE MASTER FUND LP AND
     DANIEL KAMENSKY                                                C/O PARKINS LEE & RUBIO LLP                              ATTN: LENARD M. PARKINS                                                            PENNZOIL PLACE 700 MILAM STREET SUITE 1300        HOUSTON          TX      77002                     713-542-7225                     LPARKINS@PARKINSLEE.COM
     MARBLE RIDGE CAPITAL LP, ON BEHALF OF MARBLE RIDGE MASTER                                                                                                                                                                                                                                                                                        DKAMENSKY@MARBLERIDGECAP.COM
     FUND LP                                                        ATTN: DAN KAMENSKY                                       11 GREENWAY                                                                                                                          ROSLYN           NY      11576-1351                212-858-0620                     KDANIELS@MARBLERIDGECAP.COM
                                                                                                                                                                                                                                                                                                                                                      MICHAEL.KIM@KOBREKIM.COM
                                                                                                                                                                                                                                                                                                                                                      ZACHARY.ROSENBAUM@KOBREKIM.COM
                                                                                                                                                                                                                                                                                                                                                      DANIEL.SAVAL@KOBREKIM.COM
                                                                                                                                                                                                                                                                                                                                                      LEIF.SIMONSON@KOBREKIM.COM
     MARBLE RIDGE MASTER FUND LP & MARBLE RIDGE CAPITAL                                                                      ATTN: MICHAEL S. KIM AND ZACHARY D. ROSENBAUM AND DANIEL J. SAVAL AND                                                                                                                                                    ALEXANDRA.FELLOWES@KOBREKIM.COM
     LUXEMBOURG S.A.R.L                                          C/O KOBRE & KIM LLP                                         LEIF T. SIMONSON AND ALEXANDRA FELLOWES AND SARA GRIBBON              800 THIRD AVE                                                  NEW YORK         NY      10022                     212-488-1200      212-488-1220   SARA.GRIBBON@KOBREKIM.COM
     MARGO MORRISON DESIGN, LTD.,                                D/B/A MARGO MORRISON JEWELRY DESIGN, INC.                   D/B/A MARGO MORRISON NEW YORK                                         330 W 38TH ST                                                  NEW YORK         NY      10018
     MARGOT MCKINNEY JEWELLERY, MACEOO LLC, PICCHIOTTI S.R.L.,
     SABOO FINE JEWELS, & SOBE LUXURY SERVICES LLC D/B/A
     GISMONDI 1754 S.P.A., BARRY MEYROWITZ, INC.                 C/O GODWIN BOWMAN PC                                        ATTN: SIDNEY H. SCHEINBERG & RILEY F. TUNNELL                                      1201 ELM STREET SUITE 1700                        DALLAS           TX      75270                     214-939-4501      214-527-3116   SSCHEINBERG@GODWINBOWMAN.COM
     MARIPOSA INTERMEDIATE HOLDINGS LLC AT THE SOLE DIRECTION OF
     THE DISINTERESTED MANAGER, ANTHONY R. HORTON                C/O KATTEN MUCHIN ROSEMAN LLP                               ATTN: CHARLES R. GIBBS, ESQ.                                                       2121 N PEARL ST SUITE 1100                        DALLAS           TX      75201                     214-765-3656                     CHARLES.GIBBS@KATTEN.COM
     MARIPOSA INTERMEDIATE HOLDINGS LLC AT THE SOLE DIRECTION OF
     THE DISINTERESTED MANAGER, ANTHONY R. HORTON                C/O KATTEN MUCHIN ROSENMAN LLP                              ATTN: GEOFFREY KING, ESQ.                                                          525 WEST MONROE STREET                            CHICAGO          IL      60661-3693                312-902-5506                     GEOFF.KING@KATTEN.COM
     MARIPOSA INTERMEDIATE HOLDINGS LLC AT THE SOLE DIRECTION OF
     THE DISINTERESTED MANAGER, ANTHONY R. HORTON                C/O KATTEN MUCHIN ROSENMAN LLP                              ATTN: STEVEN J. REISMAN, ESQ.                                                      575 MADISON AVENUE                                NEW YORK         NY      10022-2585                212-940-8700                     SREISMAN@KATTEN.COM
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     MATTIA CIELO, INC.                                             C/O BARCLAY DAMON LLP                                    ATTN: ROBERT K. GROSS & JANICE B. GRUBIN                                           1270 AVE.OF THE AMERICAS, SUITE 501               NEW YORK         NY      10020                     212-784-5808      212-784-57     JGRUBIN@BARCLAYDAMON.COM
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     MERICLE 325 RESEARCH DRIVE LLC                                 C/O KELLEY, POLISHAN & SOLFANELLI, LLC                   ATTN: EUGENE C. KELLEY, ESQ. & EUGENE M. KELLEY, ESQ.                              259 S KEYSER AVENUE                               OLD FORGE        PA      18518                     570-562-4520      570-562-4531   EMK@KPWSLAW.COM
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     MOHSIN MEGHJI, SOLELY IN HIS CAPACITY AS LIQUIDATING TRUSTEE                                                                                                                                                                                                                                                                                     MWARNER@COLESCHOTZ.COM
     OF THE LIQUIDATING GUC TRUST                                   C/O COLE SCHOTZ P.C.                                     ATTN: MICHAEL D. WARNER, ESQ. & BENJAMIN L. WALLEN, ESQ.                           301 COMMERCE STREET SUITE 1700                    FORT WORTH       TX      76102                     817-810-5250      817-810-5255   BWALLEN@COLESCHOTZ.COM
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     MOHSIN MEGHJI, SOLELY IN HIS CAPACITY AS LIQUIDATING TRUSTEE                                                            ATTN: JUSTIN R. BERNBROCK, ESQ. & ROBERT B. MCLELLARN, ESQ & BRYAN V.                                                                                                                                                    RMCLELLARN@SHEPPARDMULLIN.COM
     OF THE LIQUIDATING GUC TRUST                                   C/O SHEPPARD, MULLIN, RICHTER & HAMPTON                  UELK                                                                               70 WEST MADISON STREET 48TH FLOOR                 CHICAGO          IL      60602                     312-499-6300      312-499-6301   BUELK@SHEPPARDMULLIN.COM
     MOHSIN MEGHJI, SOLELY IN HIS CAPACITY AS LIQUIDATING TRUSTEE
     OF THE LIQUIDATING GUC TRUST                                   C/O SHEPPARD, MULLIN, RICHTER & HAMPTON                  ATTN: JENNIFER L. NASSIRI, ESQ.                                                    333 S HOPE STREET 43RD FLOOR                      LOS ANGELES      CA      90071                     213-617-4106      213-443-2739   JNASSIRI@SHEPPARDMULLIN.COM
     MONTANA OFFICE OF THE ATTORNEY GENERAL                                                                                  215 N. SANDERS                                                                     JUSTICE BUILDING, THIRD FL                        HELENA           MT      59601                     406-444-2026
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     MUDRICK CAPITAL MANAGEMENT, L.P.                               C/O GIBSON, DUNN & CRUTCHER LLP                          ATTN: MICHAEL A. ROSENTHAL                                                         811 MAIN STREET SUITE 3000                        HOUSTON          TX      77002-6117                346-718-6600                     MROSENTHAL@GIBSONDUNN.COM
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                                                                                                                             ATTN: MITCHELL A. KARLAN, DAVID M. FELDMAN, KEITH R. MARTORANA, &                                                                                                                                                        KMARTORANA@GIBSONDUNN.COM
     MUDRICK CAPITAL MANAGEMENT, L.P.                               C/O GIBSON, DUNN & CRUTCHER LLP                          JONATHAN D. FORTNEY                                                                200 PARK AVENUE                                   NEW YORK         NY      10166-0193                212-351-4000                     JFORTNEY@GIBSONDUNN.COM
     NEBRASKA OFFICE OF THE ATTORNEY GENERAL                                                                                 2115 STATE CAPITOL                                                                                                                   LINCOLN          NE      68509                     402-471-2683      402-471-3297




In re: Neiman Marcus Group LTD LLC, et al.
Case No. 20-32519 (DRJ)                                                                                                                          For assistance, please contact Stretto by emailing TeamNMG@Stretto.com or by calling 877.670.2127 (toll-free).                                                                                                                               Page 3 of 5
                                                                                                          Case 20-33948 Document                                                                     Filed in TXSB on 07/02/21 Page 6 of 7
                                                                                                                                                                                                Master Service List
                                                                                                                                                                                                     As of July 2, 2021




                               NAME                                                          ATTENTION                                                             ADDRESS 1                                                              ADDRESS 2                             CITY      STATE     ZIP         COUNTRY      TELEPHONE             FAX                          EMAIL
     NEIMAN MARCUS GROUP LTD LLC ET AL.                           ATTN: TRACY M. PRESTON                                          ONE MARCUS SQUARE                                                                  1618 MAIN STREET                                  DALLAS             TX    75201
                                                                                                                                                                                                                                                                                                                                                            MCAVENAUGH@JW.COM
                                                                                                                                                                                                                                                                                                                                                            JWERTZ@JW.COM
                                                                                                                                  ATTN: MATTHEW D. CAVENAUGH & JENNIFER F. WERTZ & KRISTHY M. PEGUERO                                                                                                                                                       KPEGUERO@JW.COM
     NEIMAN MARCUS GROUP LTD LLC ET AL.                           C/O JACKSON WALKER LLP                                          & VERONICA A. POLNICK                                                              1401 MCKINNEY STREET, SUITE 1900                  HOUSTON            TX    77010                     713-752-4200       713-752-4221   VPOLNICK@JW.COM
                                                                                                                                                                                                                                                                                                                                                            ANUP.SATHY@KIRKLAND.COM
     NEIMAN MARCUS GROUP LTD LLC ET AL.                           C/O KIRKLAND & ELLIS LLP                                        ATTN: ANUP SATHY & CHAD J. HUSNICK                                                 300 NORTH LASALLE STREET                          CHICAGO            IL    60654                     312-862-2000       312-862-2200   CHAD.HUSNICK@KIRKLAND.COM
     NEIMAN MARCUS GROUP LTD LLC ET AL.                           C/O KIRKLAND & ELLIS LLP                                        ATTN: MATTHEW C. FAGEN                                                             601 LEXINGTON AVENUE                              NEW YORK           NY    10022                     212-446-4800       212-446-4900   MATTHEW.FAGEN@KIRKLAND.COM
                                                                                                                                                                                                                                                                                                                                                            JEFF.BJORK@LW.COM
                                                                                                                                                                                                                                                                                                                                                            HELENA.TSEREGOUNIS@LW.COM
     NEIMAN MARCUS GROUP, INC.                                    C/O LATHAM WATKINS LLP                                          ATTN: JEFFREY E. BJORK & HELENA G. TSEREGOUNIS & NINA J. GRANDIN                   355 S GRAND AVENUE SUITE 100                      LOS ANGELES        CA    90071                     213-485-1234       213-891-8763   NINA.GRANDIN@LW.COM
                                                                                                                                                                                                                                                                                                                                                            JOSEPH.SERINO@LW.COM
     NEIMAN MARCUS GROUP, INC.                                    C/O LATHAM & WATKINS LLP                                        ATTN: JOSEPH SERINO & ERIC LEON                                                    885 THIRD AVENUE                                  NEW YORK           NY    10022                     212-906-1200       212-751-4864   ERIC.LEON@LW.COM
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In re: Neiman Marcus Group LTD LLC, et al.
Case No. 20-32519 (DRJ)                                                                                                                               For assistance, please contact Stretto by emailing TeamNMG@Stretto.com or by calling 877.670.2127 (toll-free).                                                                                                                                Page 4 of 5
                                                                                                          Case 20-33948 Document                                                                    Filed in TXSB on 07/02/21 Page 7 of 7
                                                                                                                                                                                               Master Service List
                                                                                                                                                                                                    As of July 2, 2021




                                 NAME                                                         ATTENTION                                                         ADDRESS 1                                                                ADDRESS 2                          CITY       STATE     ZIP      COUNTRY       TELEPHONE             FAX                        EMAIL
     THE ROW                                                        ATTN: JAN KAPLAN - TREASURY MANAGER                           609 GREENWICH ST 3RD FLOOR                                                                                                          NEW YORK         NY    10014                  646-358-3888 X1872                JAN.KAPLAN@THEROW.COM
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     THREE GALLERIA OFFICE BUILDINGS LLC                            ATTN: JEFF CARUTH                                             C/O WEYCER, KAPLAN, PULASKI & ZUBER PC                                            3030 MATLOCK RD SUITE 201                         ARLINGTON        TX    76015                  713-341-1158       866-666-5322   JCARRUTH@WKPZ.COM
     TIFFANY TRAN                                                   C/O HOWIE & SMITH LLP                                         ATTN: ROBERT GEORGE HOWIE                                                         1777 BOREL PLACE SUITE 1000                       SAN MATEO        CA    94402                  650-685-9300       650-212-0842   SHOWIE@HOWIELAW.COM
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     TOM FORD BEAUTY                                                                                                              845 MADISON AVENUE                                                                                                              NEW YORK             NY    10021                  212-369-0300       212-359-0301   ASSISTANCE@TOMFORDINTERNATIONAL.COM
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     TPG SPECIALTY LENDING, INC.                                    C/O JONES WALKER, LLP                                         ATTN: JOSEPH E. BAIN                                                              811 MAIN ST SUITE 2900                            HOUSTON          TX    77002                  713-437-1800       713-437-1801   JBAIN@JONESWALKER.COM
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     TR PINNACLE CORP.                                              C/O HOLLAND & KNIGHT LLP                                      ATTN: BARBRA R. PARLIN, ESQ.                                                      31 W 52ND STREET                                  NEW YORK         NY    10019                  212-513-3210       212-341-7140   BARBRA.PARLIN@HKLAW.COM
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     UMB BANK, N.A.                                                 ATTN: GAVIN WILKINSON, SENIOR VICE PRESIDENT                  120 S 6TH ST STE 1400                                                                                                               MINNEAPOLIS      MN    55402-1807             612-337-7001                      GAVIN.WILKINSON@UMB.COM
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     UMB BANK, N.A. AS TRUSTEE FOR THE UNSECURED NOTES              C/O MCDERMOTT WILL & EMERY LLP                                ATTN: NATHAN COO                                                                  700 MILAM ST STE 1300                             HOUSTON          TX    77002-2736             713-653-1700       713-583-0143   NCOCO@MWE.COM
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     WESTWOOD CONTRACTORS, INC.                                     C/O CATNEY HANGER LLP                                         ATTN: J. MACHIR STULL                                                             4514 COLE AVE STE 500                             DALLAS           TX    75205-4237             214-978-4100       214-978-4150   MSTULL@CANTEYHANGER.COM
     WILMINGTON SAVINGS FUND SOCIETY, FSB IN ITS CAPACITY AS
     TRUSTEE UNDER THAT CERTAIN (I) BASE INDENTURE, (II) FIRST
     SUPPLEMENTAL INDENTURE, AND (III) SECOND SUPPLEMENTAL                                                                                                                                                                                                                                                                                            BKADDEN@LAWLA.COM
     INDENTURE                                                      C/O LUGENBUHL WHEATON PECK RANKIN & HUBBARD                   ATTN: BENJAMIN W. KADDEN & COLEMAN L. TORRANS                                     601 POYDRAS STREET SUITE 2775                     NEW ORLEANS      LA    70130                  504-568-1990       504-310-9195   CTORRANS@LAWLA.COM
     WILMINGTON SAVINGS FUND SOCIETY, FSB IN ITS CAPACITY AS
     TRUSTEE UNDER THAT CERTAIN (I) BASE INDENTURE, (II) FIRST
     SUPPLEMENTAL INDENTURE, AND (III) SECOND SUPPLEMENTAL                                                                                                                                                                                                                                                                                            GSASSON@STROOCK.COM
     INDENTURE                                                      C/O STROOCK & STROOCK & LAVAN LLP                             ATTN: JAYME GOLDSTEIN, ALEX COTA, & GABRIEL SASSON                                180 MAIDEN LANE                                   NEW YORK         NY    10038                  212-806-5669       212-806-6006   JGOLDSTEIN@STROOCK.COM
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     TRUSTEE FOR THE 8.750% THIRD LIEN SENIOR SECURED NOTES DUE                                                                                                                                                                                                                                                                                       LLIM@REEDSMITH.COM
     2024 AND THE 8.000% THIRD LIEN SENIOR SECURED NOTES DUE 2024   C/O REED SMITH LLP                                            ATTN: LLOYD A. LIM & RACHEL I. THOMPSON                                           811 MAIN STREET, SUITE 1700                       HOUSTON          TX    77002-6110             713-469-3800       713-469-3899   RITHOMPSON@REEDSMITH.COM
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     TRUSTEE FOR THE 8.750% THIRD LIEN SENIOR SECURED NOTES DUE                                                                                                                                                                                                                                                                                       KGWYNNE@REEDSMITH.COM
     2024 AND THE 8.000% THIRD LIEN SENIOR SECURED NOTES DUE 2024   C/O REED SMITH LLP                                            ATTN: KURT F. GWYNNE & KATELIN A. MORALES                                         1201 MARKET STREET, SUITE 1500                    WILMINGTON       DE    19801                  302-778-7500       302-778-7575   JANGELO@REEDSMITH.COM
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     YVES SAINT LAURENT AMERICA INC                                 ATTN: DANIEL BYRNES                                           150 TOTOWA RD                                                                                                                       WAYNE            NJ    07470-3117             201-553-6926                      DANIEL.BYRNES@KERING.COM




In re: Neiman Marcus Group LTD LLC, et al.
Case No. 20-32519 (DRJ)                                                                                                                              For assistance, please contact Stretto by emailing TeamNMG@Stretto.com or by calling 877.670.2127 (toll-free).                                                                                                                         Page 5 of 5
